UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

PAULETTE VAUGHN and JOY VAUGHN,

Plaintiffs, DECLARATION OF
-against- MICHAEL F. McGOWAN
IN REPLY TO PLAINTIFFS’
CONSUMER HOME MORTGAGE COMPANY, INC., OPPOSITION TO MOTION

MINDY S. ASHLEY, individually and in her capacity as a FOR SUMMARY JUDGMENT
substantial shareholder of CONSUMER HOME MORTGAGE

COMPANY, INC., THE FORECLOSURE NETWORK OF

METRO NEW YORK INC., MICHAEL ASHLEY, individually

and in his capacity as a substantial shareholder of CONSUMER

HOME MORTGAGE COMPANY, INC., ABN AMRO CV No.: 01-7937(01LG)(MDG)
MORTGAGE GROUP, INC., as assignee of and successor to

CONSUMER HOME MORTGAGE COMPANY, INC.,

ROBERT E. STANDFAST, MICHAEL PARKER, GARY

LEWIS, JAS LLC d/b/a THE FORECLOSURE NETWORK,

JILL SHARFF, JOSHUA SMILING, CHARLES SALVA

APPRAISALS, INC., CHARLES SALVA, MARTIN

SILVER, ESQ., ANN McGRANE, ESQ., KENNETH

GOLDEN, ESQ. AND UNITED STATES DEPARTMENT

OF HOUSING and URBAN DEVELOPMENT.

Defendants.

 

MICHAEL F. McGOWAN, ESQ., declares the following to be true under penalty
of perjury pursuant to 28 U.S.C. §1746:

1. [am a Member of the law firm of Boundas, Skarzynski, Walsh & Black, LLC,
attorneys for defendant Martin Silver, Esq. (‘Silver’) in the above-captioned action.

2. Defendant Silver submits the within Declaration in reply to the August 24,
2005 Declaration of Richard J. Wagner, Esq. in Opposition to Motion for Summary Judgment
(“Wagner Declaration”), and in further support of Silver’s Motion for Summary Judgment.

3. Asa threshold matter, defendant Silver is compelled to note that there is no

genuine opposition to his Motion for Summary Judgment. The aforementioned Wagmer
Declaration, with its accompanying exhibits, is the only document submitted in opposition to
Silver’s motion. That Declaration is a one page, three paragraph document that addresses none
of the arguments made in Silver’s motion; rather, the Wagner Declaration simply states that it,
along with the exhibits annexed to it, is being submitted in opposition to the motion. Defendant
Silver submits that this does not constitute opposition to his motion and that the motion for
summary judgment should therefore be granted without opposition. To the extent that plaintiffs’
counsel’s attempt to “incorporate” its August 9, 2005 letter to the undersigned “by reference” is
recognized by the Court, the following paragraphs contain a response to that letter.

4. Most of plaintiffs’ counsel’s August 9, 2005 letter inveighs against certain
assertions made by Silver in his Local Rule 56.1 Statement. Whatever the merit of plaintiffs’
objections to the contentions contained in Silver’s Local Rule 56.1 Statement, Silver’s
contentions are of little or no import for purposes of his summary judgment motion, which is
grounded solely upon the fact that plaintiffs have suffered no legally cognizable damages in this
matter. There are no other grounds upon which Silver has moved for summary judgment; thus,
there is no reason for Silver to address most of the invective contained in plaintiffs’ counsel’s
August 9, 2005 letter.

5. Plaintiffs’ counsel’s August 9, 2005 letter does set forth a solitary argument in
response to Silver’s assertion that plaintiffs have suffered no legally cognizable damages, to wit:
plaintiffs, for the first time in the four years since they brought this action, now suggest that they
have been damaged because Silver’s negligence prevented them from purchasing the property
they have consistently claimed was dilapidated and overpriced. Had Silver’s negligence not
prevented plaintiffs from purchasing the property, plaintiffs’ counsel claims, plaintiffs would

currently have title to a desirable property in the Bushwick section of Brooklyn, which, although
fraudulently overpriced at $290,000 in 2001, is now allegedly worth in excess of $450,000. !

6. Plaintiffs’ allegation that their damages stem from the fact that they do not
currently own 247 Cooper Street (the “Premises’’), as opposed to the fact that they were
unwittingly duped into entering into a contract of sale and securing a mortgage loan to purchase
an undesirable and overpriced piece of property, appears nowhere in any of plaintiffs’
Complaints. Rather, plaintiffs’ First Amended Verified Complaint repeatedly alleges that, but
for the malfeasance of the defendants, plaintiffs would not have gone forward with the purchase
of the Premises. See, e.g., plaintiffs’ First Amended Verified Complaint, annexed to Silver’s
August 2, 2005 Notice of Motion as Exhibit “A”, at 70, 126 and 181.

7. Moreover, plaintiffs’ counsel’s insistence that Silver is somehow culpable for
plaintiffs’ purported failure to hold “good” title to the Premises for the brief time that they were
obligated on the mortgage loan misconstrues the contract of sale, as well as a purchaser’s
attorney’s role in ensuring that the seller’s contractual obligations are fulfilled. The contract of
sale in the instant case unambiguously provides that the “[s]eller shall give and purchaser shall
accept such title as any reputable title company will be willing to approve and insure in
accordance with their standard form of title policy, subject only to the matters provided for in this
contract.” See Exhibit “E” annexed to Wagner Declaration, at (5. The contract language is
consistent with Silver’s deposition testimony, wherein he states that inasmuch as the contract
calls for the purchaser to be provided with “insurable” title, insurable title is what he, as an

attorney, seeks to ensure that his client receives. See Exhibit “C” annexed to Wagner

 

‘Plaintiffs offer absolutely no support for their outrageous claim that the property in question, which
remained abandoned at the time the parties conducted an on-site inspection of it in the spring of 2003, is now worth
$450,000 or more. Significantly, one of the linchpins of plaintiffs’ claims against the defendants has been that
inasmuch as the property was purchased by JAS, LLC in late 2000 for $165,000, it could not possibly have been
worth $290,000 in February of 2001 and therefore would not have been purchased by plaintiffs but for the
defendants’ fraud.
Declaration, at p. 81. In the instant case, a title policy was issued by Fidelity National Title
Insurance Company of New York. See copy of February 9, 2001 policy issued by Fidelity
National Title Insurance Company of New York, annexed hereto as Exhibit “A”. No one has
suggested that Fidelity National Title Insurance Company of New York is less than a “reputable
title company;” accordingly, the terms of the contract of sale were complied with and Silver
would not have had any basis, with respect to the quality of title being conveyed, upon which to
prevent the transaction from being consummated. Indeed, plaintiffs have failed to put forth any
testimonial evidence from an expert that would suggest otherwise.

8. In sum, plaintiffs have utterly failed to respond to Silver’s Motion for
Summary Judgment. Rather than oppose the motion by setting forth evidence establishing that
plaintiffs’ ability to obtain credit or has been adversely affected, plaintiffs’ counsel has instead
put forth an entirely new theory of damages, one that is not only absent from plaintiffs’
pleadings, but is directly contradicted by them. It is respectfully submitted that this Court cannot
countenance such an “about face” at this stage of the litigation; on the contrary, plaintiffs’ failure
to address the argument made in Silver’s motion mandates a grant of summary judgment in his
favor.

Dated: New York, New York
September 1, 2005

/s/ Michael F. McGowan
MICHAEL F. McGOWAN
